Case 1:22-cv-00601-CRC   Document 46-10   Filed 02/19/25   Page 1 of 5




                         Exhibit 10
   Case 1:22-cv-00601-CRC      Document 46-10   Filed 02/19/25   Page 2 of 5




Transcript of Clev Bernard Ibanez
      Bennett, Designated
         Representative
                           Date: February 9, 2023
   Case: Scott -v- Washington Metropolitan Area Transit Authority




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                                                                      Page 1 of 90
                                                                      WMATA000001
           Case 1:22-cv-00601-CRC                         Document 46-10          Filed 02/19/25              Page 3 of 5

                          Transcript of Clev Bernard Ibanez Bennett, Designated Representative 1 (1 to 4)
                                                    February 9, 2023
                                                                1                                                                     3

1          UNITED STATES DISTRICT CIRCUIT COURT                     1                        I N D E X
2               FOR THE DISTRICT OF COLUMBIA                        2                                                   Page
3    -------------------------X                                     3    Examination by Mr. Regan                         5
4    CAROL WILD SCOTT,                                              4
5              Plaintiff,                                           5
6              vs.                    Civil Action No.              6                     E X H I B I T S
7    WASHINGTON METROPOLITAN          22-cv-00601 (CRC)             7                        (Attached)
8    AREA TRANSIT AUTHORITY,                                        8    Number                                         Page
9              Defendant.                                           9    Exhibit 1      Amended Notice of 30(b)(6)        5
10 -------------------------X                                       10                  Deposition
11                                                                  11 Exhibit 2        Incident/Accident Report,        5/8
12                                                                  12                  9/23/19
13 30(b)(6) DEPOSITION OF CLEV BERNARD IBANEZ BENNETT               13 Exhibit 3        Incident Report, 9/23/19         5/18
14                      Conducted Remotely                          14 Exhibit 4        E-Mail, Graves to WMATA          5/24
15                Thursday, February 9, 2023                        15                  WMSC Notification, 9/23/19
16                      2:58 p.m. Eastern                           16 Exhibit 5        Press Release, 3/4/19             5
17                                                                  17 Exhibit 6        Press Release, 6/19/19            5
18                                                                  18 Exhibit 7        E-Mail, 3/2/19, Bates            5/51
19                                                                  19                  No. WMATA000060
20 Job No.:    480571                                               20 Exhibit 8        Rail Signal Safety Updates        5
21 Pages 1 - 54                                                     21 Exhibit 9        Station Overrun Report,           5
22 Reported by:      Cynthia Powers                                 22                  4/20/19




                                                                2                                                                     4

1                    A P P E A R A N C E S                          1                     E X H I B I T S
2                                                                   2                       (Continued)
3    ON BEHALF OF THE PLAINTIFF:                                    3    Number                                         Page
4              Christopher J. Regan, Esquire                        4    Exhibit 10     Station Overrun Report,           5
5              Regan, Zambri & Long, PLLC                           5                   4/28/19
6              1919 M Street, N.W., Suite 350                       6    Exhibit 11     RTRA Training Request Form        5
7              Washington, D.C. 20036                               7    Exhibit 12     Investigation Report             5/34
8              (202) 463-3030                                       8    Exhibit 13     E-Mail, Bumbry to Alston         5/46
9              cregan@reganfirm.com                                 9                   and others, 2/26/19
10                                                                  10 Exhibit 14       Trains Certification Result      5/49
11 ON BEHALF OF THE DEFENDANT:                                      11 Exhibit 15       Standard Operating Proceduce      5
12             Brendan H. Chandonnet, Esquire                       12                  Nos. 40.5 and 50.5
13             Nicholas L. Phucas, Esquire                          13 Exhibit 16       Washington Post Article,          5
14             Washington Metropolitan Area Transit                 14                  6/26/18
15             Authority                                            15
16             Office of General Counsel                            16
17             300 7th Street, S.W.                                 17
18             Washington, D.C. 20004                               18
19             (202) 962-1234                                       19
20             bchandonnet@wmata.com                                20
21                                                                  21
22                                                                  22




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                                                                                                                       Page 2 of 90
                                                                                                                       WMATA000002
           Case 1:22-cv-00601-CRC                           Document 46-10    Filed 02/19/25       Page 4 of 5

                        Transcript of Clev Bernard Ibanez Bennett, Designated Representative 2 (5 to 8)
                                                  February 9, 2023
                                                                  5                                                          7
1                  P R O C E E D I N G S                              1 last time?
2              (Whereupon, WMATA Deposition Exhibits 1                2         MR. CHANDONNET: Yes.
3    through 16 were premarked electronically for                     3 BY MR. REGAN:
4    identification.)
                                                                      4      Q. All right. So Mr. Bennett, I know that
5              THE COURT REPORTER:    Will counsel please
                                                                      5 Mr. Chandonnet is on a short timer today, so I'm
6    stipulate that in lieu of formally swearing in the
                                                                      6 going to try to move quickly.
7    witness in person, the reporter will instead ask
8    the witness to acknowledge that their testimony
                                                                      7      A. Okay.
9    will be true under the penalties of perjury and
                                                                      8      Q. Have you ever had your deposition taken
10 that counsel will not object to the admissibility                  9 before?
11 of the transcript based on proceeding in this way.                 10 A. Yes.
12             MR. REGAN:    On behalf of the plaintiff,              11 Q. You probably know most of the rules and
13 yes.                                                               12 I'm not going to waste time. The most important
14             MR. CHANDONNET:    I'm fine with that.                 13 one is just that if I ever ask a question at some
15             MR. PHUCAS:    That's fine.                            14 point over the course of the next two hours that
16              CLEV BERNARD IBANEZ BENNETT
                                                                      15 you're not sure you understand or just doesn't
17
                                                                      16 make sense, which I'm bound to do at some point,
18         having been satisfactorily identified
                                                                      17 let me know and I'm always going to be happy to
19          and duly sworn by the Notary Public,
20         was examined and testified as follows:
                                                                      18 rephrase it.
21
                                                                      19        The important thing is for us to both
22          EXAMINATION BY COUNSEL FOR PLAINTIFF                      20 make sure we're talking about the same thing and
                                                                      21 understanding each other. Okay?
                                                                      22 A. All right.
                                                                  6                                                          8
1 BY MR. REGAN:                                                       1       Q. All right. Let's take a look at
2      Q. Good afternoon, Mr. Bennett. We met                         2 Exhibit 2, please. On your screen should be
3 just a couple seconds ago off the record. Again,                    3 Exhibit 2, and with this and any exhibit that I
4 my name is Chris Regan and I represent the                          4 put up there today, I'm happy to scroll up and
5 plaintiff, Carol Scott, in this case.                               5 down, show you all the pages, zoom in, zoom out,
6          Would you please state your full name                      6 whatever you need to make sure you can read it
7  for the record?                                                    7 and --
8      A. Clev Bernard Ibanez Bennett.                                8          MR. CHANDONNET: Chris, if you just give
9      Q. And Mr. Bennett, let me show you what's                     9 him the Bates number, he has it in front of him.
10 been marked Exhibit 1. This is a notice of                         10         MR. REGAN: This is Bates WMATA 2
11 deposition for today's deposition. Do you see                      11 through 9.
12 that on your screen?                                               12         MR. CHANDONNET: Got it. We're good.
13 A. Yes.                                                            13         MR. REGAN: The only catch, Brendan, I
14 Q. My understanding -- just scrolling down                         14 might be referring to stuff on the screen, but
15 to the second page. My understanding is that                       15 I'll describe it as I go through anyway.
16 you're going to be talking with us today about                     16         (Introduced Exhibit 2)
17 areas of testimony 1, 2, and 7. Is that your                       17 BY MR. REGAN:
18 understanding as well?                                             18 Q. Mr. Bennett, whatever is easier for you
19 A. Yes.                                                            19 is fine with me.
20         MR. REGAN: And Brendan, 6, sort of                         20 A. Okay.
21 subject to what we discussed in the last                           21 Q. First of all, Mr. Bennett, what is this
22 deposition; right? We're not, but we discussed it                  22 document that we're looking at?
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                                                                                                          Page 3 of 90
                                                                                                          WMATA000003
        Case 1:22-cv-00601-CRC            Document 46-10         Filed 02/19/25      Page 5 of 5

                 Transcript of Clev Bernard Ibanez Bennett, Designated Representative 8 (29 to 32)
                                           February 9, 2023
                                                  29                                                       31
1          MR. CHANDONNET: He doesn't know, Chris. 1                THE WITNESS: You want me to answer?
2 BY MR. REGAN:                                           2         MR. CHANDONNET: You can answer if you
3       Q. You don't know where Mr. Graves got this       3 know.
4 statement of fact that he put forth to the WMSC?        4      A. Say it one more time, I'm sorry.
5       A. No.                                            5 BY MR. REGAN:
6       Q. You don't know whether WMATA ever              6      Q. Yeah, is WMATA aware of any information
7 supplemented or corrected that information              7 at all demonstrating that Ms. Scott stood up while
8 provided to WMSC, do you?                               8 the train was in motion?
9       A. No.                                            9      A. I'm not aware of any.
10 Q. Okay. Do you know whether it's                      10 Q. Okay. Well, you're speaking on behalf
11 important to provide information the full              11 of WMATA today. You've investigated, you've
12 information of what happened to Ms. Scott to the       12 looked at all the documents, right, all the
13 WMSC?                                                  13 incident reports. You've actually gone and
14 A. Yes.                                                14 reviewed all those things. And you, speaking as
15 Q. And is it?                                          15 WMATA, are not aware of any evidence; right?
16      A.  Would   you phrase   that --                  16 A. Correct.
17 Q. The first question, I guess, was: Do                17 Q. One of the witnesses explicitly noted
18 you know whether it's important to provide full        18 that the train operator never made any
19 information to WMSC? You said, "Yes." And the          19 announcement that the train was going to be in
20 follow-up question is: It is important to provide      20 motion again. Do you remember that or do you want
21 full information of what happened   to WMSC;    right? 21 me to pull it up?
22 A. Yes.                                                22 A. I remember -- I remember seeing that,
                                                  30                                                       32
1      Q. As we sit here today, is it WMATA's            1 yes.
2  position  that Ms. Scott did anything wrong to lead   2      Q. Is WMATA aware of any evidence that
3 to her fall?                                           3 would contradict that; in other words, is there
4         MR. CHANDONNET: Objection. I'm going           4 any evidence that WMATA is aware of that the train
5 to direct him not to answer any questions that         5 operator announced the train would be moving
6 deal with legal strategy.                              6 before she moved it forward again?
7         MR. REGAN: Okay. We'll agree to                7      A. No.
8 disagree. If you've instructed him not to answer       8      Q. Bear with me one minute. All right. We
9 that question, that's fine.                            9 are back to Exhibit 3, which begins on WMATA 18.
10        MR. CHANDONNET: Thank you.                     10 Do you still have that in front of you?
11 BY MR. REGAN:                                         11 A. I do. I just have to go to it. All
12 Q. Mr. Bennett, are there any facts in any            12 right.
13 of the documents that you reviewed, any of the        13 Q. All right. So about halfway down that
14 incident reports prepared by WMATA after what         14 page, just underneath that table, there's a line
15 happened, that suggest Ms. Scott did anything         15 that says, "Incident Type," and it says,
16 wrong?                                                16 "Slip/fall, vehicle in motion." See that?
17        MR. CHANDONNET: Objection. I'm going           17 A. Yes.
18 to ask -- instruct him not to answer that as well.    18 Q. Is that how all incidents, such as the
19 BY MR. REGAN:                                         19 one that happened to Ms. Scott, are classified,
20 Q. Okay. Is WMATA aware of any evidence               20 "Slip/fall, vehicle in motion"?
21 that Ms. Scott stood up while the train was in        21 A. I can't recall because I haven't done an
22 motion?                                               22 SMS recently. We have a drop down. So I have to
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                                                                                            WMATA000009
